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EXHIBIT 1
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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

A.A., a minor, by JENNY CARROLL, )
her Next Friend; B.B.;

C.C., a minor, by C.G., his Next
Friend; and D.D., a minor, by
CHRISTINE FREEMAN, his Next
Friend; and E.E., a minor, by
CHRISTINE FREEMAN, her Next
Friend,

Plaintiffs,

Civil Action No.
2:21-CV-00367-ECM-SRW

V.

NANCY T. BUCKNER,
Commissioner of the Alabama
Department of Human Resources,
in her official capacity,

Defendant.

Nee! Nee! Nee Ne Ne Nee Nee” Nee Nee Ne” Ne Nee Nee” Nee Nee” ne” ee” Nee”

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
OBJECTS OR TO PERMIT INSPECTION OF PREMISES

COMES NOW defendant Nancy T. Buckner, Commissioner of the Alabama
Department of Human Resources, in her official capacity (“Defendant” or
“ADHR”), pursuant to Rule 45 of the Federal Rules of Civil Procedure, and requests
that you produce documents as set forth below within thirty (30) days after service.

Please be advised that a confidentiality order has been entered in this lawsuit

to limit the disclosure of confidential information. A copy of the order is attached as
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Exhibit B. All discovery in this case, including any documents produced in response
to this subpoena, is protected by the confidentiality order.

For purposes of these requests, the following Definitions shall apply:

DEFINITIONS

1. “ADAP” means the Alabama Disability Advocacy Program and all of
its officers, attorneys, employees, agents, partners, representatives, or anyone acting
or purporting to act on its behalf.

2. “ADHR” means the Alabama Department of Human Resources and all
of its officers, employees, agents, representatives, or anyone acting or purporting to
act on its behalf.

3s “SPLC” means the Southern Poverty Law Center and all of its officers,
attorneys, employees, agents, partners, representatives, or anyone acting or
purporting to act on its behalf.

4, The term “communications” means all conversations, agreements,
inquiries or replies, whether in person, by telephone, in writing, or by electronic
means, and includes, but is not limited to, all correspondence, memoranda, notes,
and email and any attachments thereto.

5. The terms “document” or “documents” are used in the broadest sense
and mean every writing, record, or thing of every type and description that is in your
possession, custody, or control, including, without limitation, correspondence,
memoranda, handwritten notes, reports, claims, complaints, pleadings, statements,
papers, files, forms, data, printouts, letters, emails, records, diaries, calendars,
studies, recordings, videotapes, transcripts, computer records, tapes or compact
disks, electronically stored information, contracts, agreements, photographs,
drawings, sketches, invoices, checks, payments, receipts, understandings and
undertakings, and every copy of such writing or thing where the original is not in
your possession, custody or control.

6. “Named Plaintiffs” means Jamiee McLeod, Erica Salazar, Frederick
Tate, William Dvorak, and Kaleigh Satterwhite. The Named Plaintiffs are referred
to pseudonymously in this lawsuit as A.A., B.B., C.C., D.D., and E.E.
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7. “Next Friends” means the individuals serving as the minor Named
Plaintiffs’ representatives in this lawsuit. Jenny Carroll serves as Next Friend to
Jamiee McLeod, Patrick Tate served as Next Friend to Frederick Tate prior to his
passing, and Christine Freeman serves as Next Friend to William Dvorak and
Kaleigh Satterwhite.

8. “PRTF” or “Psychiatric Residential Treatment Facility” means an
entity or facility that is licensed and provides intensive residential programs to foster
children.

DOCUMENT REQUESTS

1. ADAP’s entire investigation file prior to May 20, 2021 related to its
investigation and monitoring of ADHR’s use and oversight of PRTFs, including but
not limited to any notes, communications, and written or recorded interview
statements.

2. All documents and communications ADAP reviewed or relied upon in
preparing the July 6, 2020 letter from ADAP, Children’s Rights, and SPLC
addressed to ADHR, the Alabama Department of Mental Health (ADMH), the
Alabama Department of Public Health (ADPH), and the Alabama Medicaid Agency.

3. All responses to the July 6, 2020 letter that ADAP received from
ADHR, ADMH, ADPH, or the Alabama Medicaid Agency.

4. All documents and communications ADAP reviewed or relied upon in
preparing its March 19, 2021 letter to ADHR regarding ADHR’s oversight of
PRTFs.

5. All documents and communications ADAP reviewed or relied upon in
preparing the April 22, 2021 letter to ADHR from ADAP, Children’s Rights, and
SPLC regarding ADHR’s use of PRTFs.

6. All documents and communications ADAP reviewed or relied upon in
preparing the initial Complaint filed on May 20, 2021.

7. All documents and communications prior to May 20, 2021 reflecting,
referring, or relating to the Named Plaintiffs.
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8. All documents and communications prior to May 20, 2021 between the
Next Friends and anyone acting on behalf of ADAP, which reflect, refer, or relate to
this lawsuit.

9. All communications between ADAP and any employee, agent, or
representative of a PRTF from January 1, 2019 to the present, including but not
limited to any investigation notifications, corrective action plans or notifications,
and shut-down requests.

10. Organizational charts for all offices, units, and subdivisions of ADAP,
including lists of all positions and the persons occupying each position.

11. All documents reflecting ADAP’s policies, procedures, rules,
directives, and guidelines applicable to the following:

a. Investigations of abuse and neglect allegations within PRTFs;

b. Interviews of minor residents of PRTFs, staff members of PRTFs,
and other related individuals; and

c. Confidentiality of records obtained from PRTFs, residents of
PRTFs, and individuals who report incidents of abuse and neglect.

12. All memorandums of understanding (MOUs) and agreements between
ADAP and ADHR or any other entity concerning PRTFs.

13. All documents and communications between any media source and
ADAP, Children’s Rights, or SPLC regarding the allegations contended in the First
Amended Complaint.

Defendant agrees to pay for the reasonable cost of compiling these documents

for electronic service, but please inform us if these costs will exceed $100.00.
